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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                  MDL NO. 2924
   PRODUCTS LIABILITY                                                          20-MD-2924
   LITIGATION

                                                         JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART
   _____________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                     PRETRIAL ORDER #12
                            Stipulated Order Appointing Special Master

          It appearing that preparation of specific policies and procedures for management of this

   MDL will benefit the parties and the Court, the Court hereby, on recommendation of and with the

   consent of the parties, ORDERS:

      1. Appointment: Professor Jaime Dodge, Director of the Institute for Complex Litigation and

          Mass Claims at Emory Law School, is appointed under Federal Rule of Civil Procedure 53

          for the purpose of establishing practices and procedures that will assist with and facilitate

          the just and efficient early management of this litigation through the negotiation and

          implementation of initial case management procedures and related matters including data

          collection and analytics and other early case management issues identified by the parties.

      2. Responsibilities and Authority: Consistent with Fed. R. Civ. P. 53 and the currently

          anticipated needs of the Court, as well as the parties’ consent, the Court directs that

          Professor Dodge shall have the authority to (1) meet separately and together with various

          groups to facilitate communications between and amongst the parties and the Court; (2)

          encourage the submission of recommendations for procedures that will ensure the efficient

          management and administration of this litigation; (3) provide recommendations to the
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        Court as to the establishment of such practices and procedures; and (4) facilitate

        discussions between the parties, with the consent of the parties or as requested by the Court,

        with respect to the establishment of discovery procedures or protocols. Professor Dodge

        shall act only as a facilitator and shall not have the authority to issue reports and

        recommendations or orders on substantive issues of law, to decide discovery disputes, to

        conduct evidentiary hearings, or to impose sanctions.

     3. Ex Parte Communications: Professor Dodge may communicate ex parte with any party’s

        attorneys for the purpose of fulfilling her role. She may use the information gained to

        advise the Court with respect to any procedural or scheduling matters, but shall not use ex

        parte communications to advise the Court on substantive issues of law, discovery disputes,

        evidentiary hearings or other substantive matters. No communications or sharing of

        materials with Professor Dodge in the context of this Appointment will be deemed a waiver

        of any privilege, the protection afforded by the work product doctrine, the protection

        afforded to material prepared for litigation, or violation of HIPAA or other law limiting

        sharing of information. This protection is retroactive and covers all prior conversations

        and communications between Professor Dodge and either side related to this litigation.

        The parties will treat Professor Dodge’s communications with any party or the Court as

        privileged and those communications will not be subject to discovery by any party.

     4. Records: Professor Dodge shall maintain billing records of the time spent on this matter,

        with descriptions of the activities and matters worked upon which shall be submitted to the

        parties on a periodic basis for review and payment.

     5. Fees and Expenses: Compensation, at rates mutually agreeable to Professor Dodge and the

        parties, shall be paid to Professor Dodge on a periodic basis by the parties, along with



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           reimbursement for reasonable expenses incurred. Those fees and expenses shall be

           divided, with Defendants bearing 50% of this cost and Plaintiffs bearing 50% of this cost.

           Professor Dodge shall incur only such fees and expenses as may be reasonably necessary

           to fulfill her duties under this Order.

      6. Reasonable Diligence: As required by Fed. R. Civ. P. 53(b)(2), the Court directs Professor

           Dodge to proceed with all reasonable diligence.

      7. Disqualification Affidavit: Pursuant to Fed. R. Civ. P. 53(b)(3), before this Order shall

           take effect, Professor Dodge must file an affidavit disclosing whether there is ground for

           disqualification under 28 U.S.C. § 455. If any ground is disclosed, this Order shall take

           effect only if the parties, with the Court’s approval, waive disqualification.

      8. Pacer: The parties consent to Professor’s Dodge addition to the Pacer service list. She will

           have access to Pacer free of charge.

      9.   Amendment: Pursuant to Fed. R. Civ. P. 53(b)(4), the Court may amend this Order at any

           time after notice to the parties and an opportunity to be heard.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 20th day of

   March, 2020


                                                         ______________________________
                                                         ROBIN L. ROSENBERG
                                                         UNITED STATES DISTRICT JUDGE




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